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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE


In re:                                            § CHAPTER 11
                                                  §
PES HOLDINGS, LLC,                                §
                                                  § CASE No. 19-11633
                  Debtor.                         §


                 NOTICE OF APPEARANCE AND REQUEST FOR NOTICE

         PLEASE TAKE NOTICE that the undersigned hereby enters their appearance as

counsel for Kinder Morgan Liquid Terminals, LLC, a creditor and party in interest in the

above referenced case, and requests copies of all notices and pleadings pursuant to

Bankruptcy Rules 2002(a), (b) and (f), 3017(a) and 9010(b). All such notices should be

addressed as follows:

                                      Patricia Williams Prewitt
                                      Law Office of Patricia Williams Prewitt
                                      10953 Vista Lake Court
                                      Navasota, Texas 77868
                                      Telephone: (936) 825-8705
                                      Email: pwp@pattiprewittlaw.com



         Respectfully submitted this 22nd day of July 2019

                                             /s/ Patricia Williams Prewitt
                                             Patricia Williams Prewitt
                                             Law Office of Patricia Williams Prewitt
                                             10953 Vista Lake Court
                                             Navasota, Texas
                                             Telephone: (936) 825-8705
                                             Facsimile: (713) 583-2833
                                             Attorney for Kinder Morgan Liquid Terminals,
                                             LLC


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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing Notice of Appearance was
served on all parties receiving electronic notice on this the 22nd day of July, 2019.

                                    /s/ Patricia Williams Prewitt




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